Case 1:18-cv-00950-LO-JFA Document 58 Filed 12/17/18 Page 1 of 17 PageID# 763




                                U ITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF VJRGI IA


SONY MUSIC ENTERTAINMENT, ET AL.

               Plaintiffs,                                     Case No. 1:18-cv-00950-LO-JFA

     v.

COX COMMUN lCATIONS, INC. AND
COXCOM, LLC.

               Defendants.


                         (Pftet esee1STIPULATED PROTECTIVE ORDER
           Pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, and upon the stipulation

   of Plaintiffs Sony Music Entertainment et al. (collectively, "Plaintiffs"), Cox Communications,

   Inc., and CoxCom, LLC (collectively with Cox Communications, Inc., "Defendants"), good

   cause having been shown, it is hereby ORDERED as fo llows:

          1.        Protected Information

           "Protected Information" means any information of any type, kind, or character that is

   designated as "CONFJDENT lAL" or "HIG HLY CONF IDENTIAL" by any of the producing or

   receiving persons, whether it be a document, infonnation contained in a document, information

   revealed during a deposition, information revealed in an interrogatory answer, or otherwise.

          2.        Designation Criteria

          a.            Non-Protected Information.        Protected   Information   shall   not   include

  in formation that either:

                   1.         is in the publ ic domain at the time of disclosure;

                   ii.        becomes part of the public domain through no fault of the recipient;
Case 1:18-cv-00950-LO-JFA Document 58 Filed 12/17/18 Page 2 of 17 PageID# 764




                  iii.       the receiving party can show by written document was in its rightful and
                             lawful possession at the time of disclosure; or

                  1v.        lawfully comes into the recipient's possession subsequent to the time of
                             disclosure from another source without restriction as to disclosure,
                             provided such third party has the right to make the disclosure to the
                             receiving party.
          b.          CONFIDENTIAL Information. A producing party, including any party to this

  action and any nonparty producing information or material voluntarily or pursuant to a subpoena

  or court order, shall designate as CONFIDENTIAL only such information that the producing

  party in good faith believes in fact is non-public, sensitive or confidential information.

  Information that is generally available to the public, such as public filings, catalogues,

  advertising materials, and the like, shall not be designated as CONFIDENTIAL. Information

  and documents that may be designated as CONFIDENTIAL include, but are not limited to,

  confidential technical, sales, marketing, financial, or other commercially sensitive information.

  Correspondence and other communications and documents between the parties or with

  nonparties may be designated as CONFIDENTIAL if the communication was made with the

  understanding or reasonable expectation that the information would not become generally

  available to the public.

         c.           HIGHLY CONFIDENTIAL Information.

                 i.          HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY Information. A

  producing party, including any party to this action and any nonparty producing information or

  material voluntarily or pursuant to a subpoena or court order, shall designate as HIGHLY

  CONFIDENTIAL - ATTORNEYS' EYES ONLY only such information that is particularly

  sensitive information that the producing party believes in good faith cannot be disclosed without

  creating a substantial risk of harm to the producing party.         HIGHLY CONFIDENTIAL -

  ATTORNEYS' EYES ONLY information includes but is not limited to proprietary marketing,


                                                     2
Case 1:18-cv-00950-LO-JFA Document 58 Filed 12/17/18 Page 3 of 17 PageID# 765




  financial, sales, research and development, or technical data/infonnation; or commercially

  sensitive competitive information, including, without limitation, infonnation relating to future

  products, strategic or business plans, competitive analyses, artist agreements, personnel files,

  personal infonnation that is protected by law, settlement agreements or communications,

  customers' or subscribers' personally identifiable infonnation, and other sensitive infonnation

  that, if not restricted as set forth in this order, may subject the producing or disclosing person

  to competitive or financial injury or potential legal liability to third parties.

                 ii.      HIGHLY CONFIDENTIAL - SOURCE CODE Information. A producing

  party, including any party to this action and any nonparty producing infonnation or material

  voluntarily or pursuant to a subpoena or court order, shall designate as HIGHLY

  CONFIDENTIAL - SOURCE CODE only non-public computer object code or other executable

  code or source code or similar programming statements or instructions that in general are

  converted into machine language by compilers, assemblers, or interpreters.

         3.        Use of Protected Information

          All Protected Information provided by any party or nonparty in the course of this

  litigation shall be used solely for the purpose of preparation, trial, and appeal of this litigation

  and for no other purpose, and shall not be disclosed except in accordance with the tenns hereof.

         4.        Marking of Documents

          Documents provided in this litigation may be designated by any party, or any nonparty

  producing infonnation or material voluntarily or pursuant to a subpoena or a court order, as

  Protected Infonnation by marking each page of the documents so designated with a stamp

  indicating that the infonnation is "CONFIDENTIAL," or "HIGHLY CONFIDENTIAL." In

  lieu of marking the original of a document, if the original is not provided, the designating party




                                                    3
Case 1:18-cv-00950-LO-JFA Document 58 Filed 12/17/18 Page 4 of 17 PageID# 766




  may mark the copies that are provided. Originals shall be preserved for inspection. Electronic

  documents and electronically stored information produced natively may be designated by the

  producing person or by any party as Protected Information by labeling the file name as

  "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL," but to the extent such labeling is

  impossible or impractical, documents and electronically stored information produced natively

  may be designated as Protected Information by other reasonable means agreed to by and

  between the producing party and the receiving party in writing. If a hard copy of a document

  produced natively is used in the case as an exhibit or otherwise the party using it shall mark

  each page as "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL."                         Parties requesting

  production of documents or information from nonparties, whether by subpoena or otherwise,

  must notify such nonparties of this Order and their ability to designate documents and

  information as "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL."

         S.          Qualified Person

          "Qualified Persons"

          means:

         a.     For HIGHLY CONFIDENTIAL- ATTORNEYS' EYES ONLY Information:

                1.     attorneys who are not employees of any named party to this action, but who
                       are retained as outside counsel by a named party in connection with this
                       litigation, and their support personnel;
               ii.     The following corporate designees (and their support personnel) for the
                       parties, upon execution of Attachment A agreeing to be bound by the terms
                       of this Protective Order:
                           1. Wade Leak - Sony Music Entertainment
                          2. David Jacoby - Sony Music Entertainment
                           3. Julie Swidler - Sony Music Entertainment
                          4. Alasdair McMullan - Universal Music Group
                          5. Carla Miller- Universal Music Group


                                                  4
Case 1:18-cv-00950-LO-JFA Document 58 Filed 12/17/18 Page 5 of 17 PageID# 767




                      6. Jeffrey Harleston - Universal Music Group
                      7. Brad Cohen - Warner Music Group
                      8. Paul Robinson - Warner Music Group
                      9. Nathan Osher- Warner/Chappell Music Inc.
                      10. Michael Abitbol- Sony/ATV Music Publishing LLC and EMI
                      11. David Przygoda - Sony/ATV Music Publishing LLC and EMI
                      12. Peter Brodsky-Sony/ATV Music Publishing LLC and EMI
                      13. Jennifer Hightower - Cox Communications, Inc.
                      14. Kristen Weathersby - Cox Enterprises, Inc.
                      15. Marcus Delgado - Cox Enterprises, Inc.
            m.    a party's additional in-house counsel who either have responsibility for
                  making decisions dealing directly with the litigation of this action or who are
                  assisting outside counsel in preparation for proceedings in this case, but only
                  with the prior written consent of the producing party, which shall not be
                  unreasonably withheld, and upon execution of Attachment A agreeing to be
                  bound by the terms of this Protective Order. In the event the producing party
                  declines consent, the party requesting status as a Qualified Person under this
                  subparagraph may request relief from the Court;
            1v.   actual or potential independent experts or consultants (and their respective
                  support personnel) engaged in connection with this litigation. Prior to
                  disclosure of any HIGHLY CONFIDENTIAL - ATTORNEYS' EYES
                  ONLY information, such persons must execute Attachment A agreeing to be
                  bound by the terms of this Protective Order (such signed document to be
                  maintained by the attorney retaining such person) and have been disclosed in
                  writing by notice to all counsel as a recipient of HIGHLY CONFIDENTIAL
                  -ATTORNEYS' EYES ONLY information; provided, however, that such
                  persons shall not receive HIGHLY CONFIDENTIAL- ATTORNEYS'
                  EYES ONLY information prior to the expiration of the four-day objection
                  period set forth in paragraph l 3(b) and resolution of any challenge
                  thereunder. Independent experts or consultants under this paragraph shall not
                  include current employees, officers, directors or agents of parties or affiliates
                  of parties;
            v.    this Court and its staff and any other tribunal or dispute resolution officer
                  duly appointed or assigned in connection with this litigation;
            vi.   litigation vendors and court reporters;
           vii.   any person who was an author or recipient of the HIGHLY CONFIDENTIAL
                  - ATTORNEYS' EYES ONLY information and who agrees to keep the
                  information confidential.



                                               5
Case 1:18-cv-00950-LO-JFA Document 58 Filed 12/17/18 Page 6 of 17 PageID# 768




         b.      For HIGHLY CONFIDENTIAL- SOURCE CODE lnfonnation:

                 1.     attorneys who are not employees of any named party to this action, but who
                        are retained as outside counsel by a named party, and their support personnel;
                ii.     actual or potential independent experts or consultants (and their respective
                        support personnel) engaged in connection with this litigation. Prior to
                        disclosure of any HIGHLY CONFIDENTIAL - SOURCE CODE
                        infonnation, such persons must execute Attachment A agreeing to be bound
                        by the tenns of this Protective Order (such signed document to be maintained
                        by the attorney retaining such person) and have been disclosed in writing by
                        notice to all counsel as a recipient of HIGHLY CONFIDENTIAL -
                        SOURCE CODE information; provided, however, that such persons shall not
                        receive HIGHLY CONFIDENTIAL - SOURCE CODE infonnation prior to
                        the expiration of the four-day objection period set forth in paragraph 13(b)
                        and resolution of any challenge thereunder. Independent experts or
                        consultants under this paragraph shall not include current employees,
                        officers, directors or agents of parties or affiliates of parties;
               iii.     this Court and its staff and any other tribunal or dispute resolution officer
                        duly appointed or assigned in connection with this litigation;
               iv.      litigation vendors and court reporters.
         c.      For CONFIDENTIAL lnfonnation:

                 i.     the persons identified in subparagraphs S(a) and S(b);
                n.      such officers, directors, or employees of a party who are actively involved in
                        the prosecution or defense of this case,
               iii.     any person who was an author or recipient of the CONFIDENTIAL
                        information and who agrees to keep the infonnation confidential; and
               1v.      such other person as the parties may designate by mutual agreement or as
                        this Court may designate after notice and an opportunity to be heard.

         6.           Source Code

         a        Any HIGHLY CONFIDENTIAL - SOURCE CODE produced in discovery shall

  be made available for inspection, in a format allowing it to be reasonably reviewed and searched,

  during normal business hours or at other mutually agreeable times, at an office of the designating

  party's counsel or another mutually agreeable location. The source code shall be made available

  for inspection on a secured computer in a secured room, and the inspecting party shall not copy,

  remove, or otherwise transfer any portion of the source code onto any recordable media or


                                                     6
Case 1:18-cv-00950-LO-JFA Document 58 Filed 12/17/18 Page 7 of 17 PageID# 769




  recordable device. The designator may visually monitor the activities of the inspecting party's

  representative during any source code review, but only to ensure that there is no unauthorized

  recording, copying, or transmission of the source code.

         b.      The inspecting party may request paper copies of limited portions of source code

  that are reasonably necessary for the preparation of court filings, pleadings, expert reports, other

  paper, or for deposition or trial. The designator shall provide all such source code in paper form,

  including Bates numbers and the label "HIGHLY CONFIDENTIAL - SOURCE CODE." The

  receiving party may take notes on a laptop and such notes shall be treated as HIGHLY

  CONFIDENTIAL - SOURCE CODE information under this Order; provided however that such

  notes shall be stored in an encrypted manner and may only be unencrypted during their use by a

  Qualified Person under paragraph 5(b)(i)-(ii). These notes may include file names and path

  names for files reviewed.

         c.      The inspecting party shall maintain a record of any individual who has inspected

  any portion of the source code in electronic or paper form, and shall maintain all paper copies of

  any printed portions of the source code in a secured, locked area The inspecting party shall not

  convert any of the information contained in the paper copies into any electronic format other

  than for the preparation of a pleading, exhibit, expert report, discovery document, deposition

  transcript, or other Court document. Any paper copies used during a deposition shall be

  retrieved at the end of each day and must not be left with a court reporter or any other

  unauthorized individual.

         7.        Disclosure at Depositions, Hearings and Trial

         Information disclosed at (a) the deposition of a party or one of its present or former

  officers, directors, employees, consultants, representatives, or independent experts retained by




                                                    7
Case 1:18-cv-00950-LO-JFA Document 58 Filed 12/17/18 Page 8 of 17 PageID# 770




  counsel for the purpose of this litigation, or (b) the deposition of a nonparty may be

  designated by any party as Protected Information by indicating on the record at the deposition

  that the testimony is "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL" and is subject to

  the provisions of this Order.

          Any party also may designate information disclosed at a deposition, hearing or trial as

  Protected Information by notifying all parties in writing not later than 15 days of receipt of the

  final transcript of the specific pages and lines of the transcript that should be treated as Protected

  Information thereafter. All deposition transcripts shall be treated as HIGHLY CONFIDENTIAL

  for a period of 15 days after initial receipt of the final transcript. In the event that expedited

  disclosure may be required by a party due to an impending deadline regarding preparation of

  any filing or submission that requires consideration of the Protected Information in question, the

  concerned party shall negotiate in good faith for a shortened expiration period. Any portions so

  designated shall thereafter be treated in accordance with the terms of this Order.

         Any party may also designate as CONFIDENTIAL or HIGHLY CONFIDENTIAL

  information pertaining to that party which is provided in this suit by non-parties pursuant to

  requests for production, depositions on written questions or otherwise, by notifying all parties

  in writing within thirty (30) days after the provision of such information. Upon receiving any

  such notices, all parties shall mark each page of any documents or copies containing such

  information as "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL" (according to the

  requested designation in the notice) and all such information shall be treated as

  CONFIDENTIAL or HIGHLY CONFIDENTIAL information hereunder.

         Counsel for a party or a nonparty witness shall have the right to exclude from

  depositions any person who is not authorized to receive Protected Information pursuant to this



                                                    8
Case 1:18-cv-00950-LO-JFA Document 58 Filed 12/17/18 Page 9 of 17 PageID# 771




  Protective Order, but such right of exclusion shall be applicable only during periods of

  examination or testimony during which Protected Information is being used or discussed.

         To the extent possible, the court reporter shall segregate into separate transcripts

  information designated as Protected Information with blank, consecutively numbered pages

  being provided in a non-designated main transcript. The separate transcript containing Protected

  Information shall have page numbers that correspond to the blank pages in the main transcript.

         8.       Disclosure to Qualified Persons

         Protected Information shall not be disclosed or made available by the receiving party to

  persons other than Qualified Persons except as necessary to comply with applicable law or the

  valid order of a court of competent jurisdiction; provided, however, that in the event of a

  disclosure compelled by law or court order, the receiving party will so notify the producing

  party as promptly as practicable (and prior to making such disclosure) and shall seek application

  of this Protective Order or an agreement to treat such information as confidential.

         Notwithstanding the restrictions on use in this Order, any party may disclose

  CONFIDENTIAL or HIGHLY CONFIDENTIAL information to (i) any employee of the

  producer of the information; (ii) any person who authored the information in whole or part; and

  (iii) any person who received the information before this case was filed. Any party is free to use

  its own Protected Information for any purpose, and no use by the producing party shall affect or

  otherwise act as a waiver with respect to the confidential status of that information so long as

  the Protected Information has not been publicly disclosed.

         9.       Unintentional Disclosures

         Documents unintentionally produced without designation as Protected Information later

  may be designated and shall be treated as Protected Information from the date written notice of




                                                   9
Case 1:18-cv-00950-LO-JFA Document 58 Filed 12/17/18 Page 10 of 17 PageID# 772




  the designation is provided to the receiving party.          If a receiving party learns of any

  unauthorized disclosure of Protected Infonnation, the party shall promptly upon learning of

  such disclosure infonn the producing party of such disclosure and shall make all reasonable

  efforts to prevent disclosure by each unauthorized person who received such information.

         10.         Documents Produced for Inspection Prior to Designation

          In the event documents are produced for inspection prior to designation, the documents

   shall be treated as HIGHLY CONFIDENTIAL during inspection. At the time of copying for

   the   receiving     parties,   Protected   Infonnation    shall   be   marked   prominently   as

   "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL" by the producing party.

         11.         Consent to Disclosure and Use in Examination

          Nothing in this order shall prevent disclosure beyond the tenns of this order if each

   party designating the information as Protected Infonnation consents to such disclosure or if the

   Court, after notice to all affected parties and nonparties, orders such disclosure. Nor shall

   anything in this order prevent any counsel of record from utilizing Protected Information in the

   examination or cross-examination of any person who is indicated on the document as being an

   author, source, or recipient of the Protected Information, irrespective of which party produced

   such infonnation. Nothing herein shall limit in any way a producing party's right to use or

   disclose its own Protected Information for any purpose.

         12.         Disclosure in Mediations, Hearing and Trial

          CONFIDENTIAL and HIGHLY CONFIDENTIAL infonnation may be disclosed in

   any mediation, settlement conference, hearings and the trial of this case without any

   requirement that the mediator, Court, Court officials, those persons impaneled as potential

   jurors or those persons comprising the actual jury sign any written agreement to be bound by




                                                   10
Case 1:18-cv-00950-LO-JFA Document 58 Filed 12/17/18 Page 11 of 17 PageID# 773




   the tenns of this Protective Order. At any public hearing or trial, a party may make requests to

   the Court to take steps to protect the confidentiality of Protected Infonnation to the extent

   appropriate and practical.

            13.    Challenging the Designation

           a.     Protected information. A party shall not be obligated to challenge the propriety

   of a designation of Protected Infonnation at the time such designation is made, and a failure to

   do so shall not preclude a subsequent challenge to the designation. In the event that any party to

   this litigation disagrees at any stage of these proceedings with the designation of any

   infonnation as Protected lnfonnation, the parties shall first try to resolve the dispute in good

   faith on an infonnal basis, such as by production of redacted copies. If the dispute cannot be

   resolved, the objecting party may invoke this Protective Order by objecting in writing to the

   party who designated the document or information as Protected Information. The designating

   party shall then have seven (7) days to move the Court for an order preserving the designated

   status of the disputed information. The disputed infonnation shall remain Protected Information

   unless and until the Court orders otherwise. Failure to move for an order shall constitute a

   termination of the status of such item as Protected Information.

           b.     Qualified Persons. In the event that any party in good faith disagrees with

   the designation of a person as a Qualified Person under Section S(a)(iv) or 5(b)(ii), or the

   disclosure of particular Protected Information to a Qualified Person, the objecting party must

   serve, within four (4) business days of such designation, a written objection to the designation.

  The parties shall first try to resolve the dispute in good faith on an informal basis. If the dispute

   cannot be resolved, the objecting party shall have eight (8) business days from the date of the

  designation (or in the event particular Protected Infonnation is requested subsequent to the




                                                   11
Case 1:18-cv-00950-LO-JFA Document 58 Filed 12/17/18 Page 12 of 17 PageID# 774




  designation of the Qualified Person, eight (8) days from service of the request) to move the

   Court for an order denying the designated person (a) status as a Qualified Person, or (b) access

  to particular Protected Information.        The objecting person shall have the burden of

   demonstrating that disclosure to the disputed person would expose the objecting party to risk of

   serious harm. Upon the timely filing of such a motion, no disclosure of Protected Information

   shall be made to the disputed person unless and until the Court enters an order preserving the

   designation of the person as a Qualified Person.

          c.        Non-Qualified Persons. In the event that a party in good faith contends that

  certain Protected Information should be shared with any non-Qualified Persons, such party may

   make such request in writing to the producing party. The parties shall first attempt to resolve

   the request for such exception in good faith.           In the event a dispute over a non-Qualified

   Person's access to Protected Information cannot be resolved informally, the party seeking an

   exception to allow non-Qualified Person's to access Protected Information may seek relief from

   the Court. The party seeking such exception shall have the burden of demonstrating that

   disclosure to the non-Qualified Person is necessary and would not subject the producing party to

   a risk of serious harm. No disclosure of Protected Information shall be made to a non-Qualified

  person unless and until the Court enters an order permitting such disclosure.

            14.    Manner of Use in Proceedings / Filing Under Seal

          In the event a party wishes to use any Protected Information m any affidavits,

   declarations, briefs, memoranda of law, or other papers filed with the Court in this action, the

   filing party may first request permission from the producing party to de-designate the Protected

   Information for public filing, if appropriate. In the event the producing party maintains the

   Protected Information designation, the filing party shall seek an order from the Court to file the




                                                      12
Case 1:18-cv-00950-LO-JFA Document 58 Filed 12/17/18 Page 13 of 17 PageID# 775




  document (or a portion of the document) under seal pursuant to Local Civil Rule 5. Nothing in

  this Order supersedes or replaces any provision of Local Civil Rule 5.

           1S.    Return of Documents

         Not later than 120 days after conclusion of this litigation and any appeal related to it,

  any Protected Information, all reproductions of such information, and any notes, summaries, or

  descriptions of such information in the possession of any of the persons specified in paragraph 5

  (except subparagraph S(a)(v)-(vi) and 5(b)(iii)-(iv)) shall be returned to the producing party or

  destroyed, except as the parties may otherwise agree or this Court may otherwise order or to the

  extent such information has been used as evidence at any trial or hearing. Notwithstanding this

  obligation to return or destroy information, counsel may retain attorney work product, including

  document indices, but such work product shall remain subject to this Order. Counsel are not

  required to delete information that may reside on electronic back-up systems, to the extent such

  information is not readily accessible and would be unduly burdensome to locate and remove;

  however, the parties agree that no Protected Information shall be retrieved from the electronic

  back-up systems after conclusion of this litigation and any related appeals.

           16.    Ongoing Obligations and Continuing Jurisdiction of the Court

          Insofar as the provisions of this Protective Order, or any other protective orders entered

   in this litigation, restrict the communication and use of the information protected by it, such

   provisions shall continue to be binding after the conclusion of this litigation, except that (a)

   there shall be no restriction on documents that are used as exhibits in open court unless such

   exhibits were filed under seal, and (b) a party may seek the written permission of the

   producing party or order of the Court with respect to dissolution or modification of this, or any

   other, protective order. This Court shall retain jurisdiction over the parties and any other




                                                  13
Case 1:18-cv-00950-LO-JFA Document 58 Filed 12/17/18 Page 14 of 17 PageID# 776




   person who has had access to Protected Information pursuant to this Order, in order to enforce

   the Order's provisions.

           17.     Advice to Clients

          This order shall not bar any attorney in the course of rendering advice to such attorney's

   client with respect to this litigation from conveying to any party client the attorney's evaluation

   in a general way of Protected Information produced or exchanged under the terms of this order;

   provided, however, that in rendering such advice and otherwise communicating with the client,

   the attorney shall not disclose the specific contents of any Protected Information produced by

   another party if such disclosure would be contrary to the terms of this Protective Order.

           18.     Duty to Ensure Compliance

           Any party designating any person as a Qualified Person shall have the duty to

   reasonably ensure that such person observes the terms of this Protective Order and shall be

   responsible upon breach of such duty for the failure of such person to observe the terms of this

   Protective Order. This Order shall be binding upon and inure to the benefit of the parties and

   their successors-in-interest.

           19.   Inadvertent Production and Waiver of Privileged Documents and
           Information

           In addition to Federal Rule of Civil Procedure 26(b)(5)(B) and Federal Rule of Evidence

   502, the parties agree that the inadvertent production or disclosure of documents or information

   subject to the attorney-client privilege, work product immunity, or any other applicable

   privilege or immunity from disclosure shall not constitute a waiver of, nor a prejudice to, any

   claim that such or related material is Protected Information, privileged, or protected by the work

   product immunity or any other applicable privilege, provided that the producing party promptly

   notifies the receiving party in writing after discovery of such inadvertent production or


                                                   14
Case 1:18-cv-00950-LO-JFA Document 58 Filed 12/17/18 Page 15 of 17 PageID# 777




   disclosure. Such inadvertently-produced or disclosed documents or information, including all

   copies thereof, shall be returned to the producing party or destroyed immediately upon request.

   The receiving party shall also immediately destroy any notes or other writing or recordings that

   summarize, renect, or discuss the content of such privileged or Protected Information.

          No use shall be made of such documents or information in discovery, in deposition, in

   court fili ngs or at trial. Nor shall such documents or information be shown to anyone, after a

   request for their return, who is not entitled to have access to them. The receiving party may

   move the Court for an Order compelling production of any inadvertently produced or disclosed

   document or infonnation, but the motion shall not assert as a ground for production the fact of

   the inadvertent production or disclosure, nor shal l the motion d isclose, summarize, characterize,

   or otherwise use the content of the inadvertently produced document or information (beyond

   any non-privileged information sufficient to provide the Court with necessary context to resolve

   the motion).

           20.     Modification and Exceptions

          Any party may seek an order of this Court modifying this Protective Order or granting

   an exception to it. A party seeking an exception to this Order shall bear the burden of

   establish ing the need for such exception and that the producing party w ill not be substantially

   harmed thereby.


          It is SO ORDERED this                                                      , 2018.




                                                                       Isl
                                                               John F. Anderson
                                                        Uni ted States Magistrate Judge




                                                   15
Case 1:18-cv-00950-LO-JFA Document 58 Filed 12/17/18 Page 16 of 17 PageID# 778




                            STIPULATED PROTECTIVE ORDER- Attachment A


                               UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA


 SONY MUSIC ENTERTAINMENT, et al.,

          Plaintiffs,

 V.
                                                        Case No. 1: l 8-cv-00950-LO-JFA
 COX COMMUNICATIONS, INC., et al.,

          Defendants.




                             UNDERTAKING OF _ _ _ _ _ _ _ __


               I, _ _ _ _ _ _ _ _ _[name], state the following under penalties of perjury

      as provided by law:

               I am _ _ _ _ _ _ _ _ [position] for _ _....[employer]. I will be receiving

      Confidential and/or Highly Confidential information that is covered by the Stipulated

      Protective Order governing this case and entered by the Court on December _ , 2018.

      I have read the Stipulated Protective Order and understand that the Confidential and/or

      Highly Confidential information is provided pursuant to the terms and conditions in that

      order.

               I agree to be bound by the Stipulated Protective Order. I agree to use the

      Confidential and/or Highly Confidential information solely for purposes of this case. I




                                                   16
Case 1:18-cv-00950-LO-JFA Document 58 Filed 12/17/18 Page 17 of 17 PageID# 779




   understand that neither the Confidential and/or Highly Confidential information nor any

   notes concerning that may be disclosed to anyone that is not bound by the Stipulated

   Protective Order. I agree to return the Confidential and/or Highly Confidential

   information and any notes concerning that information to the attorney for the producer

   of Confidential and/or Highly Confidential information or to destroy the information

   and any notes at the attorney's request as required by the Stipulated Protective Order.

          I submit to the jurisdiction of the Court that issued the protective order for

   purposes of enforcing that order. I give up any objections I might have to that Court's

   jurisdiction over me or to the propriety of venue in that Court.




                                               Title:

                                               Date




                                                  17
